USDC IN/ND case 3:12-cr-00128-RLM-MGG         document 112   filed 04/11/13   page 1 of 1


                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                            SOUTH BEND DIVISION

  UNITED STATES OF AMERICA                )
                                          )
              vs.                         )    Case No. 3:12-CR-128(3) RM
                                          )
  ALVIN BLADE, III                        )

                                       ORDER

        No objections have been filed to the magistrate judge’s findings and

  recommendation upon a plea of guilty issued on March 19, 2013 [Doc. No. 97].

  Accordingly, the court now ADOPTS those findings and recommendation,

  ACCEPTS defendant Alvin Blade’s plea of guilty, and FINDS the defendant guilty

  of Count 3 the Indictment, in violation of 18 U.S.C. § 924(c).

        SO ORDERED.

        ENTERED:      April 11, 2013



                                           /s/ Robert L. Miller, Jr.
                                       Judge
                                       United States District Court
